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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


RAPHAEL VANBLARICOM,           )
                               )
              Plaintiff,       )                     4:10-cv-00093-JMM
                               )
    v.                         )
                               )
CENTRAL CREDIT SERVICES, INC., )
                               )
              Defendant.       )



                   ORDER OF DISMISSAL PURSUANT TO SETTLEMENT

       Pursuant to settlement, this case is dismissed without prejudice, without costs to either

party, and with leave for Plaintiff to seek reinstatement within forty-five (45) days from the date

of entry of this order. If this case has not been reinstated within forty-five (45) days from the

date of entry of this order, or a motion for reinstatement has not been filed by said date, then the

dismissal of this case shall automatically convert from a dismissal without prejudice to a

dismissal with prejudice.

       IT IS SO ORDERED THIS          27   day of    April , 2010.




                                                     Hon. James M. Moody
                                                     United States District Judge
